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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



                                                     )
  IN RE: AUTOMOTIVE PARTS                            )
  ANTITRUST LITIGATION                               )         Case No. 12-md-02311
  ______________________________________             )
                                                     )         Judge Marianne O. Battani
  ALL PARTS                                          )         Magistrate Mona K. Majzoub
  ______________________________________             )
                                                     )
  THIS RELATES TO:                                   )
                                                     )
  Direct Purchaser Actions                           )
  Auto Dealership Actions                            )
  End-Payor Actions                                  )
  Truck and Equipment Dealership Actions             )
                                                     )


                 CLASS PLAINTIFFS’ JOINT STATEMENT
         REGARDING APPOINTMENT OF A SETTLEMENT FACILITATOR

       Direct Purchaser Plaintiffs, End Payor Plaintiffs, Auto Dealer Plaintiffs and Truck and

Equipment Dealer Plaintiffs (collectively, “Class Plaintiffs”) respectfully submit this joint

statement to the Court regarding the appointment of a Settlement Facilitator as instructed by the

Court at the January 25, 2017 Status Conference.

       Class Plaintiffs propose that the Court appoint one of the following JAMS mediators as

the Settlement Facilitator in this MDL:

Settlement Facilitator                             Link to biography

Former Chief Judge Gerald E. Rosen                 https://www.jamsadr.com/rosen/

Former Judge Dan Weinstein                         https://www.jamsadr.com/weinstein/
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        Class Plaintiffs suggest that the Court-appointed Settlement Facilitator serve as the

overall coordinator of the settlement process in this litigation. The Settlement Facilitator would

also be available to act as a mediator in the situations described below. Class Plaintiffs propose

that all parties to this litigation be required to report to the Settlement Facilitator on the status of

their settlement negotiations within twenty days of the Settlement Facilitator’s appointment and

periodically thereafter on a schedule to be set by the Settlement Facilitator, and that the

Settlement Facilitator be empowered to establish appropriate procedures to facilitate the

settlement of this litigation.

        If the parties to a bilateral settlement negotiation agree that it is progressing in a

satisfactory manner without a mediator, or they subsequently agree to utilize the services of a

mediator, Class Plaintiffs propose that those parties be permitted to continue to negotiate unless

and until one party reports to the Settlement Facilitator that the assistance of the Settlement

Facilitator would be helpful. The Settlement Facilitator will then determine whether to appoint a

mediator, which may include himself.

        If the parties to a particular matter have agreed on a mediator or do so within twenty days

of the entry of the Court’s order appointing a Settlement Facilitator, Class Plaintiffs propose that

those parties be permitted to continue to mediate with their selected mediator. If one party to the

mediation reports to the Settlement Facilitator that the mediation has not progressed in a

satisfactory manner, the Settlement Facilitator shall determine whether another mediator should

be appointed or whether other procedures should be adopted to facilitate settlement.

        If the parties in a particular case report to the Settlement Facilitator that they are neither

engaged in bilateral negotiations or have failed to select a mediator within twenty days of the
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appointment of the Settlement Facilitator, the Settlement Facilitator shall appoint a mediator,

which may include himself.

       Class Plaintiffs believe it would be helpful to appoint a Settlement Facilitator who can

both supervise the settlement process as well as personally participate as a mediator.

Date: February 1, 2017                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2017 I electronically filed the foregoing paper with

the Clerk of the court using the ECF system which will send notification of such filing to all

counsel of record registered for electronic filing.


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